             CaseCase
                  4:17-cr-00431
                       1:17-mj-00413-ML
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AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)                                                  1F"   I   L__
                                                                                                                                                E   ID
                                          UNITED STATES DISTRICT COURT
                                                           WESTERN DISTRICT OF TEXAS                                              JUN 2 2 2017
                                                                AUSTIN DIVISION

USA                                                                              §
                                                                                         Case Number: AU:17-M -00413(1)
                                                                                                                                                UTYCLE(
                                                                                 §
vs.                                                                              §
                                                                                 §       Charging District Case No.: 4:1 7-mj-01022
(1) Stephen P. Lynch                                                             §
      Defendant                                                                  §


                                                               Waiver of Rule 5 & 5.1 Hearings
                                                                        (Complaint/Indictment)

          understand that I have been charged in another district, the Southern District of Texas, Houston
            I
        Division.
I have been informed of the charges and of my rights to:
         (1) retain counsel or request the assignment of counsel if I am unable to retain counsel;
         (2) an identity hearing to determine whether I am the person named in the charges;
         (3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
         (4) a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days
              otherwise unless I am indicted       to determine whether there is probable cause to believe that
              an offense has been committed;
         (5) a hearing on any motion by the government for detention;
         (6) request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

            I    agree to waive my right(s) to:

             (7)        an identity hearing and production of the warrant.

             (     ) a preliminary hearing.

             (     )     a detention hearing.

             (vi an identity hearing, production of the warrant, and any preliminary or detention hearing to
                        which I may be entitled in this district. I request that those hearings be held in the
                        prosecuting district, at a time set by that court.

             I consent to the issuance of an order requiring my appearance in the prosecuting district where
the charges are pending against me.

                                                                                     (1) Stephen P. Lynch, Defendant

                           2              2J
Date
                                                                                     Counsel for Defendant
          CaseCase
               4:17-cr-00431
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AO 94 (Rev. 01/09) Commitment to Another District



                                   United States District Court
                                                             for the

                                                    Western District of Texas

                 United States of America                              )
                            v.                                         )
                  (1) Stephen P. Lynch                                 )    Case No.      AU:17-M -00413(1)
                           Defendant                                   )
                                                                       )        Charging District’s
                                                                       )        Case No. 4:17-mj-01022

                                    COMMITMENT TO ANOTHER DISTRICT

The defendant has been ordered to appear in the                        Southern        District of   Texas, Houston       .

The defendant may need an interpreter for this language:                               None                           .

         The defendant:         X will retain an attorney.

                                    is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy
of this order, to the charging district and deliver the defendant to the United States marshal for that district,
or to another officer authorized to receive the defendant. The marshal or officer in the charging district
should immediately notify the United States attorney and the clerk of court for that district of the
defendant’s arrival so that further proceedings may be promptly scheduled. The clerk of this district must
promptly transmit the papers and any bail to the charging district.



June 22, 2017                                                  ______________________________
                                                               MARK LANE
                                                               U.S. MAGISTRATE JUDGE
